                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION

ABDUL CRAWFORD,
                                            Case No. 6:23-cv-01780-RBD-DCI
            Plaintiff,

v.

NORTH AMERICAN CREDIT
SERVICES, INC.,

            Defendant.
                               /

         PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

      Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Plaintiff

Abdul Crawford (“Plaintiff”), respectfully requests that this Court enter

summary judgment in his favor and rule, as a matter of law, that (1)

Defendant, North American Credit Services, Inc. (“Defendant”), violated the

Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692 et seq., by,

among other things, sending debt collection letters to Plaintiff while he was

subject to the statutory protections explicitly afforded to him under section

440, Florida Statutes, et seq., which protects individuals like Plaintiff from

being dunned for medical bills arising from their work related injuries covered

under workers’ compensation, and (2) that there are no genuine issues of

material fact relative to any defense—affirmative or otherwise—to the

aforesaid violations of the FDCPA.
                             I. INTRODUCTION

      This case arises out of Defendant North American Credit Services, Inc.’s,

violations of the Fair Debt Collection Practices Act by attempting to collect an

alleged debt from Plaintiff Abdul Crawford that he did not owe.

      The Fair Debt Collection Practice Act, or FDCPA, is a federal statute

whose purpose is to “eliminate abusive debt collection practices by debt

collectors.” Correa v. BAC Home Loans Servicing LP, 853 F. Supp. 2d 1203,

1208 (M.D. Fla. 2012) (citation omitted). One such abusive debt collection

practice occurs when a debt collector falsely represents (to the consumer) the

character, amount, or legal status of any debt. This includes sending a

collection letter to someone who does not owe a debt. Christopher v. RJM

Acquisitions, LLC, 2015 WL 437541, at *4 (D. Ariz. Feb. 3, 2015). Between the

months of November 2022 and July 2023, Defendant knowingly sent, via U.S.

Mail, debt collection letters to Plaintiff demanding payment of a debt he, by

law, did not owe, infra.

                             II. BACKGROUND

      In the month of June 2022, Plaintiff was employed as a courier with

AdventHealth, a Florida non-profit corporation. His job included, among other

things, the transportation of laboratory samples from one place to another,

using an AdventHealth-owned automobile. On June 21, 2022, Plaintiff, while

acting in the course and scope of his employment with AdventHealth, was

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struck from behind by another vehicle, injuring him and rendering him

unconscious, resulting in his being transported by ambulance to the

AdventHealth Deland Hospital where he was admitted for a period of

approximately seven (7) days. Plaintiff has no present recollection of the

accident or being transported to the hospital.

      At some point during his stay at AdventHealth Deland Hospital,

Plaintiff advised the physicians and staff involved in his treatment that his

injuries were the result of a workplace accident. This fact is evident from the

notations by Diane Novak, upon information and belief AdventHealth’s

workers’ compensation case manager. Exhibit A. While undergoing treatment

at AdventHealth, Plaintiff incurred a bevy of medical charges from various

healthcare providers, including AdventHealth. Those charges, or at least some

of them, are the subject of this action.

      It is important to note at this juncture that because Plaintiff’s accident

and injuries occurred within the course of and scope of his employment with

AdventHealth, treatment for his injuries—as well as payment therefor— became

subject to the Florida Workers’ Compensation Law, Fla. Stat. § 440 et seq.

      However, irrespective of the Florida Workers’ Compensation Law,

Defendant, acting on behalf of AdventHealth, sent Plaintiff a letter on

November 8, 2022, stating, “Your account is past due and has been placed with

our office, a collection agency.” Exhibit B. This letter identified the creditor as

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AdventHealth Medical Group and sought payment in the amount of $117.55

for treatment rendered on June 27, 2022 (while Plaintiff was in the hospital

receiving treatment for his workplace injury).

      Next, on December 20, 2022, Plaintiff received a second letter from

Defendant, also stating, “Your account is past due and has been placed with

our office, a collection agency.” Exhibit C. This letter also identified the

creditor as AdventHealth Medical Group and sought payment in the amount

of $675.84, again for treatment rendered on June 27, 2022 (while Plaintiff was

in the hospital receiving treatment for his workplace injury). Both of these

alleged debts were directly attributable to injuries attributable to Plaintiff’s

workplace injuries.

      These collection demands rendered Plaintiff unsure and apprehensive

about the protections afforded to him by Florida law. Plaintiff experienced

what he called a “high level” of frustration from the collection letters which

added to Plaintiff’s difficulty in maintaining a safe blood pressure:

      17    So it was
      18    really frustrating that the whole time -- and then
      19    actually having someone that's supposed to be taking
      20    care of the bills and the bills are still coming to me,
      21    that created a -- a -- a great level of -- a high level
      22    of frustration.

Exhibit D. Crawford Dep. 97:17-25

      2     Especially with the
      3     hypertension. They told me basically to abstain

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      4     completely from stress, any high stress situations
      5     or anything that would actually, you know, elevate
      6     my pressure.
      7     BY MR. HERMAN:
      8     Q. And receiving these bills from AdventHealth,
      9     was that something that was stressful?
      10    A. Completely. Completely stressful.

Exhibit D. Crawford Dep. 99:2-10

      Because Defendant’s letters were a patently unlawful and injurious

attempt to circumvent Florida law by attempting to collect a debt from an

injured employee who was in no way liable for the alleged debt, this action

ensued.

      A.    The Florida Workers’ Compensation Law

      The Florida Workers’ Compensation Law, Fla. Stat. §§ 440.01-440.60,

was enacted to provide that in exchange for certain medical benefits and

protections from the loss of income, workers relinquished their rights to sue

employers in tort, while employers paid regular premium payments in lieu of

risking devastating effects of tort awards.

      Under section 440.13(2)(a) of the Florida Statutes, an injured employee

is entitled to “such medically necessary remedial treatment, care, and

attendance for such period as the nature of the injury or the process of recovery

may require.” Ascension Benefits & Ins. Sols. of Fla. v. Robinson, 232 So. 3d

1178, 1180 (Fla. 1st DCA 2017). Additionally, pursuant section 440.13(3)(g),

“The employee is not liable for payment for medical treatment or services

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provided pursuant to this section except as otherwise provided in this section”.

(emphasis added). Moreover, section 440.13(13)(a) states, “A health care

provider may not collect or receive a fee from an injured employee within this

state, except as otherwise provided by this chapter. Such providers have

recourse against the employer or carrier for payment for services rendered in

accordance with this chapter.” (emphasis added).

      The Florida Chief Financial Officer’s public website even provides a

Frequently Answered Questions page that explains how Florida’s Workers’

Compensation Law shields an individual from medical bills.1

      “Do I have to pay any of my medical bills?

      No, all authorized medical bills should be submitted by
      the medical provider to your employer’s insurance
      company for payment.

      Reference: Section 440.13(13), Florida Statutes.”

In addition to the limitation on medical charges, the workers’ compensation

law makes the employer and insurance carrier legally responsible for paying

medical bills, while the employer is insulated from liability. Sun Bank/S.

Florida, N.A. v. Baker, 632 So. 2d 669, 671 (Fla. 4th DCA 1994) (citing Long

Grove Builders, Inc. v. Haun, 508 So. 2d 476, 477 (Fla. 1st DCA 1987)); Fla.

Stat. §§ 440.10(1)(a) and 440.13(3). Accordingly, debt collectors are prohibited



1  Source: https://myfloridacfo.com/division/wc/employee/injured-worker-faqs (Last
viewed: June 1, 2024).
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from collecting medical debts incurred as a result of injuries sustained in the

workplace, or during the course and scope of employment.

      B.     The Fair Debt Collection Practices Act

      Enacted in 1977 as an amendment to the Consumer Credit Protection

Act, the Fair Debt Collection Practices Act was designed to “eliminate abusive

debt collection practices by debt collectors.” 15 U.S.C. §1692(e). It also

encourages consistent legal action to protect consumers from abuses in debt

collection. The statute provides for civil liability for a wide range of abusive

actions, including, but not limited to, the false representation of the character,

amount, or legal status of any debt. 15 U.S.C. §1692(e)(2)(A). The FDCPA is a

strict liability statute and, therefore, does not require a showing of intentional

conduct on part of the debt collector. Rivera v. Amalgamated Debt Collection

Services, 462 F. Supp. 2d 1223, 1227 (S.D. Fla. 2006). A single violation of the

statute is sufficient to establish civil liability. Id.

      A debt collector who fails to comply with any provision of the FDCPA is

liable for: (1) any actual damages sustained as a result of that failure, punitive

damages as allowed by the court; (2) individual statutory damages up to

$1,000; and (3) costs and a reasonable attorney’s fee in any such action. 15

U.S.C. § 1692k(a).

      The FDCPA is a strict liability statute. Beeders v. Gulf Coast Collection

Bureau, 796 F. Supp. 2d 1335, 1337 (M.D. Fla. 2011). That said, it contains a

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bona fide error defense that can shelter a debt collector from liability arising

out of actions which would otherwise violate the statute. 15 U.S.C. § 1692k(c).

A debt collector asserting the bona fide error defense must show by a

preponderance of the evidence that its violation...: (1) was not intentional; (2)

was a bona fide error; and (3) occurred despite the maintenance of procedures

reasonably adapted to avoid any such error.” Edwards v. Niagara Credit Sols.,

Inc., 584 F.3d 1350, 1353 (11th Cir. 2009) (citing Johnson v. Riddle, 443 F.3d

723, 727-28 (10th Cir. 2006)). “The failure to meet any one of those three

requirements is fatal to the defense.” Id (emphasis added).

                        III. STANDARD OF REVIEW

      Summary judgment is appropriate “if the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits,

if any, show that there is no genuine issue as to any material fact and that the

moving party is entitled to judgment as a matter of law.” Fed.R.Civ.P. 56(c).

The moving party bears the initial responsibility of informing the court of the

basis for its motion, and identifying those portions of “the pleadings,

depositions, answers to interrogatories, and admissions on file, together with

the affidavits, if any, which it believes demonstrate the absence of a genuine

issue of material fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S.Ct.

2548, 91 L.Ed.2d 265 (1986). Which facts are material depends on the



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substantive law applicable to the case. Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986).

      A moving party discharges its burden of proof by showing there is an

absence of evidence to support the non-moving party's case. Dietz v.

SmithKline Beecham Corp., 598 F.3d 812, 815 (11th Cir.2010). When a moving

party has discharged its burden, the non-moving party must then go beyond

the pleadings, and by its own affidavits, or. by depositions, answers to

interrogatories, and admissions on file, designate specific facts showing there

is a genuine issue for trial. Porter v. Ray, 461 F.3d 1315, 1321 (11th Cir.2006).

The party opposing a motion for summary judgment must rely on more than

conclusory statements or allegations unsupported by facts. Evers v. Gen.

Motors Corp., 770 F.2d 984, 986 (11th Cir.1985) (“conclusory allegations

without specific supporting facts have no probative value.”).

                               IV. ARGUMENT

      To state a claim under the FDCPA, the plaintiff must allege facts

plausibly suggesting “(1) the plaintiff has been the object of collection activity

arising from consumer debt, (2) the defendant is a debt collector as defined by

the FDCPA, and (3) the defendant has engaged in an act or omission prohibited

by the FDCPA.” Gesten v. Phelan Hallinan, PLC, 57 F. Supp. 3d 1381, 1385

(S.D. Fla. 2014) (Cohn, J.) (citation omitted). Gause v. Medical Business

Consultants, Inc., 424 F. Supp. 3d 1175, 1205 (M.D. Fla. 2019).

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      As for Plaintiff’s specific FDCPA claims, section 1692e generally provides

that “[a] debt collector may not use any false, deceptive, or misleading

representation or means in connection with the collection of any debt.” 15

U.S.C. § 1692e. Here, Plaintiff seeks relief under subsection 1692e(2)(A), which

specifically prohibits “[t]he false representation of ... the character, amount, or

legal status of any debt,” id. § 1692e(2)(A).

      A.     Plaintiff has been the object of collection activity arising
             from consumer debt.

      First, Defendant’s letter of November 8, 2022 (Exhibit B) clearly

informs Plaintiff that he is the object of collection activity. The letter explicitly

states, “Your account is past due and has been placed with our office, a

collection agency.” (Id.). It further provides instructions as to how Plaintiff can

make a payment. (Id.) On December 20, 2022, Plaintiff received a second letter

from Defendant (Exhibit C), materially the same as the first one; both

unlawfully seeking collection of an alleged debt Plaintiff did not owe, and both

stemming from Plaintiff’s workplace injury.

      The term, “collection activity,” although not explicitly defined by the

FDCPA, has been held to include, among other things, assigning the account

to debt collectors—as here—for the purposes of attempting to contact the

consumer. Cf. Burdick v. Palisades Collection, LLC, 2008 WL 80943 at *1 (C.D.

Cal. Jan. 3, 2008); see also Crawford v. Senex Law, P.C., 259 F.Supp.3d 464,


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471 (W.D. Va. 2017) (collection activity includes sending initial communication

letters); Scott v. Jones, 1991 WL 156060 at *3 (W.D. Va. Mar. 1, 1991)

(“Traditional debt collection activities include, for example, locating the debtor

when necessary, communicating with him or her about the amount owed and

negotiating repayment arrangements....”). Plaintiff, therefore, by virtue of

receipt of Defendant’s collection letters of November and December, was the

object of collection activity.

      It is undisputed that the alleged debt at issue arises from medical

treatment provided to Plaintiff by Defendant’s client. ECF No. 33, p. 13 (“It is

undisputed that the medical services were rendered by the employer/creditor

while its employee/patient was performing his duties for the employer”).

Medical debt falls within the broad definition of “debt” under the FDCPA. See

Mais v. Gulf Coast Collection Bureau, Inc., 768 F.3d 1110, 1122 (11th Cir.

2014); Bradley v. Franklin Collection Serv., Inc., 739 F.3d 606, 607 (11th

Cir.2014) (per curiam); Dunham v. Lombardo, 830 F. Supp. 2d 1305, 1307 (S.D.

Fla. 2011) (finding that so long as a complaint “demonstrate[s] the debt

involves a mortgage, credit card, medical bill, or other consumer debt,” a

consumer debt is established); Randolph v. Northeast Legal, No. 2:12-cv-

03800-HGD, 2014 WL 2819122, at *3-4 (N.D. Ala. May 23, 2014) (finding “that

the debt at issue is a consumer debt as defined by the FDCPA” because it

“arises out of a medical debt incurred by the plaintiff”) (emphasis added).

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Because medical debt constitutes “debt” within the meaning of 15 U.S.C. §

1692a(5), and because Defendant’s letters of November 8, 2022 and December

20, 2022, are communications made in connection with the collection of a debt,

Plaintiff was the object of collection activity arising from consumer debt.

      B.    Defendant is a debt collector as defined by the FDCPA.

      The FDCPA, at 15 U.S.C. § 1692a(6), defines a “debt collector” as “any

person who uses any instrumentality of interstate commerce or the mails in

any business the principal purpose of which is the collection of any debts, or

who regularly collects or attempts to collect, directly or indirectly, debts owed

or due or asserted to be owed or due another.” 15 U.S.C. § 1692a(6).

      In its collection letters to Plaintiff, Defendant states “Your account is

past due and has been placed with our office, a collection agency,” and that

“[t]his is an attempt to collect a debt….” Exhibits B, C. Defendant is

registered as a consumer debt collector in the State of Florida, No.

CCA0900472. Exhibit E. Notably, Defendant does not possess a commercial

debt collection license, obviously because Defendant believes it only engages in

the collection of “consumer debt.”

      Defendant also admits interstate communications to “seek payment of

past due debt obligations claimed due by the original creditors.” ECF No. 14,

⁋⁋ 18-20. Defendant has further admitted that it was “contractually retained

by the original creditor to seek payment for a past due medical debt obligation.”

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ECF No. 14, ⁋ 17. By its own admission, Defendant satisfies the required

elements of a debt collector as defined by 15 U.S.C. § 1692a(6).

      C.    Defendant has engaged in an act or omission prohibited by
            the FDCPA.

      Section 1692e broadly prohibits the use any false, deceptive, or

misleading representation or means in connection with the collection of any

debt. 15 U.S.C. § 1692e. This section further prohibits “[t]he false

representation of ... the character, amount, or legal status of any debt. 15

U.S.C. § 1692e(2)(A). “A false representation in connection with the collection

of a debt is sufficient to violate the FDCPA facially, even where no misleading

or deception is claimed.” Bourff v. Rubin Lublin, LLC, 674 F.3d 1238, 1241

(11th Cir. 2012). Whether a representation is false is judged under the “least

sophisticated consumer” standard. Jeter v. Credit Bureau, Inc., 760 F.2d 1168,

1177 n.11 (11th Cir. 1985). This standard does not depend on the plaintiff’s

individual perception or the perception of a reasonable consumer; rather, it

depends on whether the least sophisticated consumer would know that the

particular statement was false. Landeros v. Pinnacle Recovery, Inc., 692 F.

App’x 608, 613 (11th Cir. 2017) (citing Jeter, 760 F.2d at 1172-11723).

      The collection letters mailed to Plaintiff were explicitly addressed to him

and states that his accounts with AdventHealth had been listed with

Defendant for collection. The letter further informs Plaintiff that Defendant is


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attempting to collect a debt, and instructs him to detach the upper portion of

the letter and return it with her payment. Exhibits B, C. Because the Florida

workers’ compensation law specifically shields Plaintiff from liability for

medical incurred while injured while performing in the course and scope of

employment, supra, Plaintiff is not obligated to remit any sum—much less the

demanded $793.39 dollars (cumulatively)—to Defendant. The violative

collection letters falsely implied otherwise and led him to believe that his

employer had refused to pay for certain of his medical expenses.

      The least sophisticated consumer, discussed supra, hasn’t the ability to

understand the intricacies of Florida’s workers’ compensation laws, let alone

the FDCPA, and therefore, would not know to what extent he was shielded by

those laws, or whether he was actually obligated to remit payment. Similarly,

the least sophisticated consumer would not know that the inferences made in

the collection letters, i.e., that Plaintiff owed money to AdventHealth, were

patently   false.   Therefore,   Defendant’s   collection   letter   is   a   “false

representation in connection with the collection of a debt.” Malone v. Accounts

Receivable Resources, Inc., 408 F. Supp. 3d 1335, 1343-44 (S.D. Fla. 2019)

vacated on other grounds, 19-15047 (11th Cir. 2019).

      D. Defendant’s Affirmative Defenses

      An affirmative defense is “one that admits to the complaint, but avoids

liability, wholly or partly, by new allegations of excuse, justification or other

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negating matters.” Pujals ex rel. El Rey De Los Habanos, Inc. v. Garcia, 777 F.

Supp. 2d 1322, 1327 (S.D. Fla. 2011) (internal quotation marks and citations

omitted). By its very definition, “[a]n affirmative defense is established only

when a defendant admits the essential facts of a complaint and sets up other

facts in justification or avoidance.” Morrison v. Executive Aircraft Refinishing,

Inc., 434 F. Supp. 2d 1314, 1318 (S.D. Fla. 2005) (emphasis in original). See

also Pollo Campestre, S.A. DE C.V. v. Campero, Inc., 2019 WL 5577933 *1 (S.D.

Fla. Oct. 29, 2019) (“An affirmative defense is one that admits to the complaint,

but avoids liability, wholly or partly, by new allegations of excuse, justification

or other negating matter.”). An affirmative defense that simply negates an

element of the underlying claim should be treated as a denial. “A defense which

points out a defect in the [p]laintiff's prima facie case is not an affirmative

defense.” In re Rawson Food Serv., Inc., 846 F.2d 1343, 1349 (11th Cir.1988)

      A defendant bears the burden of proof as to any affirmative defense. Int'l

Stamp Art, Inc. v. U.S. Postal Serv., 456 F.3d 1270, 1274 (11th Cir.2006) (“If

the movant bears the burden of proof on an issue, because, as a defendant, it

is asserting an affirmative defense, it must establish that there is no genuine

issue of material fact as to any element of that defense.”). Here, Defendant has

asserted eight separate affirmative defenses, only one of which—the bona fide

error defense—is viable in the context of this FDCPA claim.



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      a) Defense #7, Bona Fide Error

      The bona fide error defense is a “narrow carve-out to the general rule of

strict liability under the FDCPA. Owen v. IC System, Inc., 629 F.3d 1263, 1271

(11th Cir. 2011):

         “A debt collector may not be held liable in any action brought
         under this subchapter if the debt collector shows by a
         preponderance of evidence that the violation was not
         intentional and resulted from a bona fide error
         notwithstanding the maintenance of procedures
         reasonably adapted to avoid any such error.”

15 U.S.C. § 1692k(c) (emphasis added).

      This defense excepts a debt collector from liability if the debt collector

demonstrates the following by a preponderance of the evidence: (1) the

violation was not intentional; (2) the violation was bona fide error; and (3) the

violation “occurred despite the maintenance of procedures reasonably adapted

to avoid any such error.” Id. (quoting Edwards v. Niagara Credit Solutions,

Inc., 584 F.3d 1350, 1352 (11th Cir. 2009)).

      As the text of § 1692k(c) indicates, the procedures component of the bona

fide error defense involves a two-step inquiry: first, whether the debt collector

“maintained”—i.e., actually employed or implemented—procedures to avoid

errors; and, second, whether the procedures were “reasonably adapted” to

avoid the specific error at issue. See 15 U.S.C. § 1692k(c); see also Jenkins v.

Heintz, 124 F.3d 824, 834, 835 (7th Cir.1997) (finding debt collector


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conclusively established procedures prong where the debt collector actually

employed both general procedures to comply with the FDCPA and specific

procedures designed to avoid the error at issue); Owen, 629 F.3d at 1273-74

(internal quotations and citations omitted).

      In this case, Defendant’s bona fide error defense is deficient as a matter

of law, as it fails to articulate any actual procedure it contends supports its

defense that a bona fide error occurred “notwithstanding the maintenance of

procedures reasonably adapted to avoid such an error.” Thomas v. Portfolio

Recovery Associates, LLC, 2013 WL 4517175, at *7 (S.D. Cal. Aug. 12, 2013);

see also Masters v. Harrison & Johnston, PLC, 2018 WL 988097, at *5 (W.D.

Va. Feb. 20, 2018) (“Defendants must identify their procedures and explain

how they were adapted to avoid the error at issue.”) (emphasis added). In fact,

the only documentation Defendant has presented in support of its “policies and

procedures” reasonably adapted to prevent the alleged “errors” at issue here is

appears to be a single page from an instruction manual which purports to

provide talking points instructing representatives on how to assist consumers

with the filing of insurance claims. ECF No. 33, Exhibit 13. The document

contains nothing remotely related to the issues here. Finally, at a minimum,

any procedure in dealing with workers’ compensation cases would include at

least a cursory review of Plaintiff’s file. This is something Defendant clearly

did not do, considering the fact that it sent Plaintiff’s debt collection letters on

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the very same day the accounts were transmitted from AdventHealth. Finally,

the fact remains that any time after December 2, 2022, Plaintiff’s pending

worker’s comp claim was easily discoverable if only Defendant had taken a

moment to look.

      Moreover, in the context of a bona fide error defense, a debt collector may

not rely on the creditor's representations simply by obligating the creditor to

send only valid debts. See Owen, 629 F.3d at 1277-77. Such a holding would

frustrate the purpose of the FDCPA by allowing “debt collectors to make an

end-run around statutory provisions that ensure accurate collection practices”

by merely presuming the legitimacy of the debt. Id. at 1277 (11th Cir. 2011).

The Eleventh Circuit has recognized the possibility that a debt collector “could

be liable for sending a demand letter to [a consumer] even if the FDCPA does

not explicitly require that [the debt collector] verify the debt before sending a

demand.” Hepsen v. Resurgent Capital Services, LP, 383 F. App'x 877, 882

(11th Cir. 2010). Based on the Eleventh Circuit's reasoning in these cases, the

Court should reject any argument that Defendant right to rely on the

presumption that the debt referred to it is valid. As explained in Mraz, “[t]o

endorse a separate right to rely would provide debt collectors with the bona

fide error defense on a watered-down showing.” Mraz, 2019 WL 10784290, at

*5. Accordingly, the Court should find that Defendant is not entitled to rely on

the bona fide error defense as alleged in this case.

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      As it stands, Defendant has no procedure at all designed to determine

whether an account is covered under the workers’ compensation law prior to

initiating collection activity. Any cessation activity that might occur is merely

after-the-fact, reactionary conduct on the part of Defendant and cannot be

considered as the maintenance of preventive procedures reasonably designed

to prevent an error or violation of the FDCPA in the first instance. Turner v.

JVDB & Associates, Inc., 318 F. Supp. 2d 681, 687 n.2 (N.D. Ill. 2004); see also

Malone v. Accounts Receivable Resources, Inc., 408 F. Supp. 3d 1335, (S.D. Fla.

2019) (suspension of collection efforts was statutorily required and not a

procedure adapted to avoid errors) (citing Owen v. IC System, Inc., 629 F.3d

1263, 1275 (11th Cir. 2011); Edwards v. BC Services, Inc., 2019 WL 6726232

*7 (D. Colo. Dec. 10, 2019) (“Defendant’s practices of suspending its collection

efforts and investigating a debt upon being notified that it may be subject to

workers’ compensation insurance do not constitute procedures reasonably

adapted to avoid collection errors.”) (internal citations and quotations omitted).

      Finally, relying on creditors to send only valid debts may be a procedure,

but it is not one reasonably adapted to avoid the type of errors at issue

here. Owen, 629 F.3d at 1275. Therefore, Defendant may not avail itself of the

affirmative defense of bona fide error.

      b. Defenses #1, #3, and #6

      In its Answer and Affirmative Defenses, Defendant offers up seven other

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affirmative defenses—in addition to the bona fide error defense. As its first

affirmative defense, Defendant alleges that it “is not liable for the alleged

actions or inactions of other third parties, and/or any of their employees, agents

or principals.” Defendant’s third and sixth affirmative defenses are materially

identical to its first; and all three fail for the same reason.

      For starters, Defendant has failed to allege any allegations of actions or

inactions of “other third parties,” or “independent contractors,” and Defendant

has identified no persons, documents, or things whose actions or inactions

resulted in, or was the proximate cause of its violation of the FDCPA. Third-

party involvement or not, the FDCPA is a strict liability statute. Johnson v.

Riddle, 443 F.3d 723, 728 (10th Cir. 2006); see also Rivera v. Amalgamated

Debt Collection Services, 462 F. Supp. 2d 1223, 1227 (S.D. Fla. 2006). Strict

liability is distinguished from fault-based liability in that a party may be held

liable though they were not at fault for violating the law in question. Ross v.

Vakulskas Law Firm, PC, 2012 WL 4092419 *6 (N.D. Iowa Sept. 17, 2012).

Defendant cannot blame its actions on its creditor client or anyone else. See,

e.g., Gionis v. Javitch, Block & Rathbone, 405 F. Supp. 2d. 856, 863 (S.D. Ohio

2005), aff'd, 238 Fed.Appx. 24 (6th Cir. 2007), cert. denied, 552 U.S. 1185 (2008)

(“Defendant cannot escape liability under the FDCPA by blaming its clients for

the contents of the affidavit.”). Because an affirmative defense requires more

than just a bare allegation of the elements to show plausibility, Defendant’s

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first, third, and sixth defenses fail as a matter of law. RBC Bank (USA) v.

Dental Care Alliance, LLC, 2012 WL 13106331 *2 (M.D. Fla. Mar. 15, 2012).

      c. Defense #2

      In its second affirmative defense, Defendant alleges that “Plaintiff’s

Complaint fails to state a cause of action against this Defendant upon which

relief may be granted.” This defense fails as well, because it is not an

affirmative defense simply to state “Plaintiff has failed to state a cause of

action upon which relief can be granted.” See Premium Leisure, LLC, 2008 WL

3927265 at *3 (finding that defendant's assertion that plaintiff failed to state

a claim was merely a denial and not an affirmative defense) (citations omitted).

      d. Defense #4

      For its fourth affirmative Defendant alleges that “to the extent that any

allegations exceed one (1) year from the date of filing the Complaint, such

claims or allegations are barred by the statute of limitations under the Fair

Debt Collection Practices Act (“FDCPA”).” The original complaint in this action

was filed on September 15, 2023. The letters which form the basis of the

complaint are dated November 8, 2022 and December 20, 2022, less than one

year prior to the filing of the complaint. Defendant’s statute of limitations

defense fails.

      e) Defense #5, Defendant’s Claim that the Alleged Debt is not a
         Consumer Debt.


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      Defendant’s fifth affirmative defense suggests that Plaintiff’s alleged

debts may “not be a ‘consumer debt’ as the FDCPA defines that term” because

the debt was incurred as a result of activities performed “during the course and

scope of Defendant’s employment.”

      As an initial matter, there is no direct definition of the term “consumer

debt in the FDCPA. In order to arrive at a definition for the term, one must

independently evaluate the term “consumer” as defined in section 1692a(3),

and then the term “debt” as defined in section 1692a(5).

      Focusing primarily on the term “debt,” it is undisputed that the alleged

debt at issue arises from medical treatment provided to Plaintiff by

Defendant’s client. ECF No. 14, ⁋ 17. And, medical debt falls within the broad

definition of “debt” under the FDCPA, infra. The arrow in the heart of

Defendant’s affirmative defense however, is that the characterization of a

medical injury—and the resultant medical bills—does not change simply

because a consumer happened to be injured while he was at work.

      The FDCPA regulates “debt collector[s]” that attempt to collect the kind

of debts covered by the statute. The FDCPA specifically defines those debts as

“any obligation or alleged obligation of a consumer to pay money arising out

of a transaction in which the money, property, insurance, or services which are

the subject of the transaction are primarily for personal, family, or

household purposes.” §1692a(5) (emphasis added). Defendant’s debt

                                      22
collection letters, squarely directed at Defendant are clear in that Defendant

is absolutely conveying to Plaintiff that he has an “obligation” or “alleged

obligation.” Further, an informative comparison in a slightly different context

holds under another federal statute, the ADA, that medical treatment is a

“service.”. Pa. Dep't of Corr. v. Yeskey, 524 U.S. 206, 210 (1998). Moreover,

“there is an extensive body of caselaw recognizing that personal services

such as medical treatment are directed at the person[.]”            Wharam v.

Washington University, 2015 WL 6769004, at *6 (Oct. 9, 2015 D.N.J.).

Accordingly, it is imminently reasonable, and logical, to conclude that medical

treatment is a service rendered primarily for personal purposes; and costs

incurred therefrom are debts within the meaning of 15 U.S.C. § 1692a(5).

      Simply put, regardless whether Plaintiff’s injury occurred while at work

or cleaning the gutters at home, treatment for any injuries he may sustain

while engaging in those activities are directed at him, the person, not some

inanimate object or a corporate entity. Moreover, we need to ask, “Why do

people work in the first place if not to bring money into the household?” Is work

not an activity engaged in primarily for personal, family, or household

purposes? Of course it is.

      f) Defense #8

      Defendant’s eighth and final affirmative defense suggests “failed to take

reasonable steps to mitigate damages concerning the matters alleged in the

                                       23
Complaint.” What those so-called reasonable steps may have been are known

only to Defendant because it has failed to remotely articulate any of them. In

any event, Plaintiff can envision no scenario in which he could have prevented

Defendant from sending unlawful collection letters.

                                IV. CONCLUSION

      The record shows no genuine issue as to any material fact and conclusively

establishes that Plaintiff is entitled to summary judgment as a matter of law. Defendant

has not and cannot offer any witness testimony, documents, or binding (or even

persuasive) authority in support of its claims or defenses. Accordingly, Plaintiff, Fern

Kottler, respectfully requests that this Court grant summary judgment in her favor and

against Defendant, Gulf Coast Collection Bureau, Inc.

                                        Respectfully submitted,

                                          s/ Scott D. Owens
 Paul A. Herman, Esq.                     Scott D. Owens, Esq.
 Consumer Advocates Law Group             SCOTT D. OWENS, P.A.
 PLLC                                     3800 S. Ocean Dr., Ste. 235
 4801 Linton Blvd Ste 11A-560             Hollywood, FL 33019
 Delray Beach, FL 33445-6503              Phone: 954-589-0588
 Phone: (561) 236-8851                    Fax: 954-337-0666
 Fax: (561) 431-2352                      scott@scottdowens.com
 paul@consumeradvocatelaw.com

 Thomas Patti, Esq.
 E-mail: Tom@pz1g.legal
 Victor Zabaleta, Esq.
 E-mail: Victor@pz1g.legal
 Patti Zabaleta Law Group
 3323 Northwest 55th Street
 Fort Lauderdale, Florida 33309
 Phone: 561-542-8550

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                          CERTIFICATE OF SERVICE


I HEREBY CERTIFY that on June 4, 2024, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
document is being served this date via U.S. mail and/or some other authorized
manner for those counsel or parties who are not authorized to receive electronically
Notices of Electronic Filing.

                                Respectfully submitted,

                                s/ Scott D. Owens
                                Scott D. Owens, Esq.




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